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                                                                                                           THOMAS P. SCRIVO
                                                                                                           tscrivo@oslaw.com


                                                    November 10, 2022

   VIA ECF
   All Counsel

          Re:     Occidental Chemical Corp. v. 21st Century Fox America, Inc., et al.
                  Civil Action No. 2:18-cv-11273-MCA-LDW

  Dear Counsel:

         Please allow this correspondence to confirm that there will be a monthly conference on
  November 16, 2022, at 1:00 p.m. EST. The conference will occur virtually via the Zoom platform,
  and counsel may access the same by using the following instructions:

  Meeting ID: 858 8932 5922
  Password:       006442
  Link: https://us06web.zoom.us/j/85889325922?pwd=eS9BbzRlZmhHYUNxWkw2VDY2akdDQT09

         A court reporter has been reserved, and a transcript will be available following the
  conference. Please email your appearance to Sue Chastek at s.chastek@yahoo.com.

         Any party that wishes to propose an agenda item(s) for discussion at the November
  conference shall notify me, with a copy to all parties, at least three (3) business days prior to the
  meeting. Additionally, any party that wishes to respond to or address a proposed agenda item(s)
  may do so in writing, with a copy to all parties, at least three (3) business days prior to the meeting.

                                                      Very truly yours,

                                                     /s/ Thomas P. Scrivo

                                                     Thomas P. Scrivo


  cc:     Hon. Leda D. Wettre, U.S.M.J. (via ECF)




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